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                     UNITED STATES DISTRICT COURT
                         Eastern District of Texas
                                     Sherman Division

    George Kenneth Schopp,                  §
                                            §
                        Plaintiff,          §
                                            § CA No.: 4:23-cv-568
                                            §
    v.                                      §
                                            § Class Action
    National Debt Relief, LLC               § Jury Demanded
                                            §
                        Defendant.          §


                        PLAINTIFF GEORGE KENNETH SCHOPP’S
                             CLASS ACTION COMPLAINT

            George Kenneth Schopp (“Plaintiff”) brings this action to enforce the

   consumer-privacy provisions of the Telephone Consumer Protection Act

   (“TCPA”), a federal statute enacted in 1991 in response to widespread public

   outrage about the proliferation of intrusive, nuisance telemarketing practices. He

   is also suing under Section 305-053(c) of the Texas Business & Commerce Code

   and Section § 302.101 of the Texas Business & Commerce Code.

   1. Background

         1.1. “Voluminous consumer complaints about abuses of telephone technology

             – for example, computerized calls dispatched to private homes – prompted

             Congress to pass the TCPA.” Id. at 744. In enacting the TCPA, Congress



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           intended to give consumers a choice as to how creditors and telemarketers

           may call them. Thus, and as applicable here, Section 227(b)(1)(A)(iii) of

           the TCPA specifically prohibits the making of “any call (other than a call

           made for emergency purposes or made with the prior express consent of

           the called party) using any automatic telephone dialing system or an

           artificial or prerecorded voice … to any telephone number assigned to a …

           cellular telephone service[.]”

       1.2. Plaintiff’s residential cellular telephone number (469-XXX-1358, the

           “Telephone Number”) is/was listed on the national Do Not Call

           Registry, a list explicitly designed to protect the public from these kind of

           intrusive telemarketing calls. Plaintiff listed the Telephone Number on the

           national Do Not Call Registry on December 11, 2004, and the Telephone

           Number has remained on the national Do Not Call Registry since that date.

       1.3. National Debt Relief, LLC (“Defendant”) or its telemarketing

           representative or lead generator called Plaintiff’s residential phone on

           approximately 12 occasions beginning on December 28, 2022, and made

           marketing solicitations, i.e., calls for the purpose of encouraging the

           purchase or rental of, or investment in, property, goods, or services.

           Specifically, Defendant attempted to sell Plaintiff Defendant’s debt relief

           services.



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       1.4. Because Plaintiff had not given his consent to receive these calls from

            Defendant, these calls violated the TCPA and the Do Not Call Registry

            laws and regulations.

       1.5. Because the calls were transmitted using technology capable of generating

            hundreds of thousands of telemarketing calls per day, and because

            telemarketing campaigns generally place calls to hundreds of thousands or

            even millions of potential customers en masse, Plaintiff brings this action on

            behalf of a proposed nationwide class of other persons who received illegal

            telemarketing calls from or on behalf of Defendant.

       1.6. A class action is the best means of obtaining redress for the Defendant’s

            wide scale illegal telemarketing and is consistent both with the private right

            of action afforded by the TCPA and the fairness and efficiency goals of Rule

            23 of the Federal Rules of Civil Procedure.

   2. Parties

       2.1. Plaintiff is a resident of this District. The calls were received in this District.

       2.2. Defendant is a Limited Liability Company with its principal place of

            business located at 180 Maiden Lane, 30th FL., New York, NY 10038.

            Defendant is engaged in a variety of services including debt counseling. It

            conducts business throughout the United States, and in and throughout the

            State of Texas.



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   3. Jurisdiction and Venue

       3.1. The Court has federal question subject matter jurisdiction over these

           TCPA claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

       3.2. Venue is proper because the Plaintiff is a resident of this District and

           Defendant has sufficient contacts in this State and District to subject it to

           personal jurisdiction. Defendant made calls to a resident of this District.

       3.3. This Court has personal jurisdiction over Defendant because Defendant

           targeted a telephone number with a Texas area code (469) and called a

           resident of Texas. Plaintiff alleges that discovery will show that Defendant

           called and texted Texas area codes on numerous occasions. Thus,

           Defendant is aware that it is calling residents of Texas and dialing into the

           State of Texas. Defendant took these actions to establish contacts with the

           State of Texas.

       3.4. This Court also has supplemental jurisdiction over the state law claims

           under 28 U.S.C. § 1367(a), because they are so closely related to the federal

           claims that they form a single case or controversy.

   4. Article III Standing

       4.1. Plaintiff has Article III standing for his claim under the TCPA. Spokeo, Inc.,

           v. Thomas Robins, 136 S. Ct. 1540 (2016). See also, Morris v. Hornet Corp.,

           No. 4:17-CV-00350, 2018 WL 4781273 (E.D. Tex. Sept. 14, 2018), report



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           and recommendation adopted, No. 4:17-CV-00350, 2018 WL 4773547 (E.D.

           Tex. Oct. 3, 2018).

       4.2. Plaintiff was harmed by Defendant’s actions of calling his residential phone

           while his number was on the Do Not Call Registry, without consent in the

           following manners:

           4.2.1. Plaintiff’s privacy was invaded by Defendant;

           4.2.2. Plaintiff was harassed and abused by Defendant’s telephone calls;

           4.2.3. Defendant’s calls were a nuisance to Plaintiff;

           4.2.4. Plaintiff’s phone was unavailable for other use while processing the

                  illegal calls from Defendant;

           4.2.5. Defendant illegally seized Plaintiff’s telephone line while it made

                  illegal calls to Plaintiff’s cellular telephone;

           4.2.6. Plaintiff’s telephone line was occupied by multiple unauthorized

                  calls from Defendant;

           4.2.7. Defendant’s seizure of Plaintiff’s telephone line was intrusive; and

           4.2.8. Plaintiff was inconvenienced by Defendant’s calls, by among other

                  things, hearing his ring and having to check the calling party.

    5. Factual Allegations; Defendant placed telemarketing calls to the Plaintiff

       5.1. Plaintiff is the owner of and user of the cellular telephone number 469-

           XXX-1358. The cellular number is used as a residential phone number. The



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           cellular number is a cell phone that Schopp uses for personal, family and

           household use. Schopp maintains no landline phones at his residence and

           primarily relies on cellular phones to communicate with friends and family.

           Schopp also uses his cell phone for navigation purposes, sending and

           receiving emails, and sending and receiving text messages. Schopp further

           has his cell phone registered in his personal name, pays the cell phone from

           his personal accounts, and the phone is not primarily used for any business

           purpose.


       5.2. Each of the telephone calls referenced below was made to Plaintiff’s

           residential telephone number 469-XXX-1358. None of the calls at issue

           were placed by Defendant to Plaintiff’s phone number for "emergency

           purposes."

       5.3. Beginning on December 28, 2022, Plaintiff began receiving telephone calls

           directly   from   Defendant       or   from   Defendant’s    telemarketing

           representatives who made the telephone calls as the agent for and on behalf

           of Defendant (all references herein to Defendant include Defendant’s

           telemarketing representatives).




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       5.4. The telephone calls were for the purpose of encouraging the purchase or

           rental of, or investment in, property, goods, or services. Specifically,

           Defendant was seeking to sell Plaintiff Defendant’s debt relief services.

       5.5. Plaintiff is not a customer of Defendant and has not provided Defendant

           with his written consent to be called.

       5.6. All the calls were placed to a telephone number that Plaintiff had listed on

           the National Do Not Call Registry for more than 31 days prior to the calls.

       5.7. All of the calls were made by Defendant or Defendant’s authorized agents

           and partners in Defendant’s solicitation scheme. Thus, all of the calls

           were made on behalf of Defendant.

       5.8. All of the calls used a prerecorded message such as Interactive Voice

           Response and/or Speech Recognition software. All of the calls had a similar

           pattern. Each call started with a “hello” from a female voice and awaited a

           voice response from the called party. Once the called party verbally

           responds the caller begins by introducing themselves with a female name

           and a prerecorded message regarding debt reduction and or debt

           elimination and selling debt relief programs. All of the calls then ask the

           caller if they would like to be transferred/connected to a live

           representative.




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       5.9. All of the calls followed the same pattern. On the 4-11-2023 call Plaintiff

           followed the prompts, spoke with an agent and was told that the agent was

           with National Debt Relief. On May 8, 2023 Defendant returned a call from

           Plaintiff and identified itself as national Debt Relief.

       5.10.       Plaintiff received calls from Defendant on the following dates:

               Date of Call Received         Time        Prerecorded/Artificial Voice

                   12/28/2022               1:12 PM                   Yes
                   12/29/2022               2:31 PM                   Yes
                    1/16/2023               1:03 PM                   Yes
                    1/17/2023              9:22 AM                    Yes
                    1/19/2023              10:13 AM                   Yes
                    1/25/2023              11:11 AM                   Yes
                    3/2/2023               12:16 PM                   Yes
                    3/17/2023               4:09 PM                   Yes
                    3/21/2023               2:31 PM                   Yes
                    3/30/2023               3:59 PM                   Yes
                    4/11/2023              11:22 AM                   Yes
                    5/5/2023                2:33 PM                   Yes

       5.11.Plaintiff believes he also received additional calls from Defendant and

           discovery will show the exact number of calls.

       5.12.       All of the calls were willful and knowing violations of the TCPA as

           the Defendant was using spoofed phone numbers to make the calls to

           Plaintiff. This indicates that Defendant is aware that its calling practices

           are in violation of the TCPA. Defendant has also been sued before fr

           TCPA violations.




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       6. Class Action Allegations

       6.1. As authorized by Rule 23 of the Federal Rules of Civil Procedure, Plaintiff

           brings this action on behalf of classes of all other persons or entities

           similarly situated throughout the United States and on behalf of a class of

           all other persons or entities similarly situated throughout the State of

           Texas.

       6.2. The class of persons Plaintiff proposes to represent with respect to Count

           One is tentatively defined as:

           6.2.1. Prerecorded/Artificial Voice Class: All persons in the United
                 States from four years prior to the filing of this action through the
                 present who (1) Defendant (or an agent acting on behalf of Defendant)
                 called, (2) on the person’s cellular telephone, (3) using a prerecorded
                 or artificial voice.

       6.3. The class of persons Plaintiff proposes to represent with respect to Count

           Two is tentatively defined as:

                Do Not Call Registry Class: All persons in the United States from
                four years prior to the filing of this action through the present who (1)
                Defendant (or an agent acting on behalf of Defendant) called more
                than one time, (2) within any 12-month period (3) where the telephone
                number had been listed on the National Do Not Call Registry for at
                least thirty days; (4) for the purpose of selling Defendant’s products
                and services.

       6.4. The class of persons Plaintiff proposes to represent with respect to Count

           Three is tentatively defined as:




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                 Texas § 302.101 Class: From four years prior to the filing of this
                 action through the date of certification, Plaintiff and all residents of
                 the State of Texas to whose telephone number Defendant placed (or
                 had placed on its behalf) a telephone solicitation when Defendant did
                 not hold a registration certificate as required by Tex. Bus. & Com.
                 Code § 302.101.

        6.5. The class of persons Plaintiff proposes to represent with respect to Count

            Four is tentatively defined as:

                 Texas § 305.053 Class: : From four years prior to the filing of this
                 action through the date of certification, Plaintiff and all residents of
                 the State of Texas, to whose telephone number Defendant: placed (or
                 had placed on its behalf) a call in violation of 47 U.S.C. § 227 or a
                 regulation thereof.


        6.6. The classes as defined above are identifiable through phone records and

            phone number databases.

        6.7. Plaintiff does not know the exact number of members in the proposed

            classes, but reasonably believes based on the scale of Defendant’s business,

            and the number of calls that he received, that the classes are so numerous

            that individual joinder would be impracticable. The potential class

            members number at least in the hundreds or thousands.

        6.8. Plaintiff and all members of the proposed classes have been harmed by the

            acts of Defendant in the form of multiple involuntary telephone and

            electrical charges, the aggravation, nuisance, and invasion of privacy that




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            necessarily accompanies the receipt of unsolicited and harassing telephone

            calls, and violations of their statutory rights.

        6.9. Plaintiff is a member of the classes.

        6.10.          There are questions of law and fact common to Plaintiff and to

            the proposed classes, including but not limited to the following:

            6.10.1. Whether Defendant violated the TCPA or the TBCC by engaging in

                   advertising by      unsolicited    prerecorded   or artificial   voice

                   telemarketing calls;

            6.10.2. Whether Defendant or its agents, within the four years before the

                   filing of this Amended Complaint, made one or more one

                   telemarketing calls to a recipient’s cell phone with the use of an

                   artificial or prerecorded voice.

            6.10.3. Whether Defendant or its agents, within the four years before the

                   filing of the initial Complaint, made one or more one telemarketing

                   calls within any twelve-month period to individuals whose telephone

                   number had been registered on the Do Not Call Registry for more

                   than 31 days and made such calls without the consent of the recipient

                   of the call.




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            6.10.4. Whether Defendant had the requisite registration certificate as

                     required by Tex. Bus. & Com. Code § 302.101 when making

                     telephone solicitations;

            6.10.5. Whether the Plaintiff and the class members are entitled to

                     statutory damages as a result of Defendant’s actions.

        6.11.              Plaintiff’s claims are typical of the claims of class members.

         6.12.       Plaintiff is an adequate representative of the class because his

                interests do not conflict with the interests of the class, he will fairly and

                adequately protect the interests of the class, and he is represented by

                counsel skilled and experienced in class actions, including TCPA class

                actions.

         6.13. The actions of Defendant are generally applicable to the class as a whole

                 and to Plaintiff.

         6.14.    Common questions of law and fact predominate over questions

                  affecting only individual class members, and a class action is the

                  superior method for fair and efficient adjudication of the controversy.

                  The only individual question concerns identification of class members,

                  which will be ascertainable from records maintained by Defendant

                  and/or its agents.




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        6.15.    The likelihood that individual members of the class will prosecute

                 separate actions is remote due to the time and expense necessary to

                 prosecute an individual case.

         6.16.   Plaintiff is not aware of any litigation concerning this controversy

                 already commenced by others who meet the criteria for class

                 membership described above.

    7. Count One: Violation of the TCPA’s artificial/prerecorded voice
        provisions

          7.1.     Plaintiff incorporates the allegations from all previous paragraphs as

             if fully set forth herein.

        7.2. The Defendant violated the TCPA by initiating telephone solicitations to

             cell phone numbers with the use of an artificial or prerecorded voice.

        7.3. The Defendant’s violations were knowing/willful as Defendant was

             spoofing the calling phone numbers and had no prior business with

             Plaintiff.

        7.4. Relief Sought: For himself and all class members, Plaintiff requests the

             following relief:

            7.4.1. That Defendant be restrained from engaging in future

                    telemarketing in violation of the TCPA.




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             7.4.2. That Defendant, and its agents, or anyone acting on its behalf, be

                    immediately restrained from altering, deleting or destroying any

                    documents or records that could be used to identify class members.

            7.4.3. That the Court certify the claims of the named plaintiff and all other

                   persons similarly situated as class action claims under Rule 23 of the

                   Federal Rules of Civil Procedure and Plaintiff’s counsel be named as

                   counsel for the classes.

            7.4.4. That the Plaintiff and all class members be awarded statutory

                   damages of $500 for each violation, with triple damages for any

                   willful or knowing violation, as provided by the law.

            7.4.5. That the Plaintiff recover his attorneys’ fees and costs.

            7.4.6. That the Plaintiff and all class members be granted other relief as is

                    just and equitable under the circumstances.

  8. Count Two: Violation of the TCPA’s Do Not Call provisions

        8.1. Plaintiff incorporates the allegations from all previous paragraphs as if fully

            set forth herein.

        8.2. Defendant made more than one unsolicited telephone call to Plaintiff and

            other members of the Do Not Call Registry Class within a 12-month period

            without their prior express consent to receive such calls. Plaintiff and other

            members of the Do Not Call Registry Class never provided any form of



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            consent to receive telephone calls from Defendant and do not have a

            current record of consent to place telemarketing calls to their registered

            phone numbers.

        8.3. The Defendant violated the TCPA by initiating telephone solicitations to

            persons and entities whose telephone numbers were listed on the Do Not

            Call Registry. See 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2).

        8.4. Defendant also violated 47 C.F.R. § 64.1200(d) by failing to have a written

            policy of dealing with do not call requests, by failing to inform or train its

            personnel engaged in telemarketing regarding the existence and/or use of

            any do not call list, and by failing to internally record and honor do not call

            requests.

        8.5. The Defendant’s violations were knowing/willful as Defendant was

            spoofing the calling phone numbers and had no prior business with

            Plaintiff. Defendant did not subscribe to or utilize the Do Not Call

            database.

        8.6. Relief Sought: For himself and all class members, Plaintiff requests the

            following relief:

            8.6.1. That Defendant be restrained from engaging in future

                   telemarketing in violation of the TCPA.




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             8.6.2. That Defendant, and its agents, or anyone acting on its behalf, be

                    immediately restrained from altering, deleting or destroying any

                    documents or records that could be used to identify class members.

            8.6.3. That the Court certify the claims of the named plaintiff and all other

                   persons similarly situated as class action claims under Rule 23 of the

                   Federal Rules of Civil Procedure and Plaintiff’s counsel be named as

                   counsel for the classes.

            8.6.4. That the Plaintiff and all class members be awarded statutory

                   damages of $500 for each violation, with triple damages for any

                   willful or knowing violation, as provided by the law.

            8.6.5. That the Plaintiff recover his attorneys’ fees and costs.

            8.6.6. That the Plaintiff and all class members be granted other relief as is

                    just and equitable under the circumstances.

    9. Count Three: - Violations of Texas Business and Commerce Code, §
       302.101 (On Behalf of Plaintiff and the Texas § 302.101 Class)

        9.1. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        9.2. Defendant failed to obtain a registration certificate from the Office of the

            Secretary of State of Texas pursuant to § 302.101 of the Texas Business

            and Commerce Code.




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        9.3. Defendant placed telephone solicitations to Plaintiff’s and the Texas §

            302.101 Class Members’ telephone numbers.

        9.4. Defendant’s telephone solicitations were made from a location in Texas or

            to Plaintiff and the Texas § 302.101 Class Members located in Texas.

        9.5. Plaintiff and the Texas § 302.101 Class Members are entitled to an award

            of up to $5,000 for each violation and all reasonable cost of prosecuting the

            action, including court costs and investigation costs, deposition expenses,

            witness fees, and attorney’s fees.

    10. Count Four: Violation of Tex. Bus. & Com. Code, Chapter 305

        (“TBCC”)

        10.1.   Plaintiff incorporates by reference all of the above paragraphs as

                though fully stated herein.

        10.2.   Plaintiff is a “person” as defined by Texas Business & Commerce

                Code § 1-201(b)(27).

        10.3.   Defendant is a “person” as defined by Texas Business & Commerce

                Code § 1-201(b)(27).

        10.4.   Pursuant to Section 305-053(a) of the Texas Business & Commerce

                Code, a person who receives a communication that violates 47 U.S.C.

                § 227, or a regulation adopted under that provision, may bring an




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                action against the person who originates the communication for an

                injunction, damages or both an injunction and damages.

        10.5.   As set forth above Defendant violated 47 U.S.C. § 227, or a regulation

                adopted under that provision.

        10.6.   Plaintiff is entitled to a permanent injunction to prevent any further

                violations of the Texas Business & Commerce Code, Chapter 305.

        10.7.   Pursuant to Section 305-053(b) of the Texas Business & Commerce

                Code, Plaintiff is entitled to the greater of $500.00 for each violation or

                Plaintiff’s actual damages for each call negligently made by Defendant.

        10.8.   Pursuant to Section 305-053(c) of the Texas Business & Commerce

                Code, Plaintiff is entitled to not more than the greater of $1,500.00 for

                each violation or three times Plaintiff’s actual damages for each

                violation by Defendant that the Court finds was made knowingly or

                intentionally.

        10.9.   Relief Sought: For himself and all class members, Plaintiff requests the

                following relief:

            10.9.1. That Defendant be restrained from engaging in future

                     telemarketing in violation of the TBCC.

            10.9.2. That Defendant, and its agents, or anyone acting on its behalf, be

                     immediately restrained from altering, deleting or destroying any



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                     documents or records that could be used to identify class

                     members.

            10.9.3. That the Court certify the claims of the named plaintiff and all

                     other persons similarly situated as class action claims under Rule

                     23 of the Federal Rules of Civil Procedure and Plaintiff’s counsel

                     be named as counsel for the classes.

            10.9.4. That the Plaintiff and all class members be awarded statutory

                     damages of $500 for each violation, with triple damages for any

                     willful or knowing violation, as provided by the law.

            10.9.5. That the Plaintiff recover his attorneys’ fees and costs.

            10.9.6. That the Plaintiff and all class members be granted other relief as

                     is just and equitable under the circumstances.

    11. Count Five Injunctive relief to bar future TCPA violations

        11.1. Plaintiff incorporates the allegations from all previous paragraphs as if fully

            set forth herein.

        11.2. The TCPA and the TBCC authorize injunctive relief to prevent further

            violations of the TCPA.

        11.3.The Plaintiff respectfully petitions this Court to order the Defendant, and

            their employees, agents and independent distributors, to immediately cease

            engaging in unsolicited telemarketing in violation of the TCPA.



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    12. Jury Demand

        12.1. Plaintiff requests a jury trial as to all claims of the complaint so triable.

                                       Respectfully submitted:

                                       By:      /s/ Chris R. Miltenberger
                                                Chris R. Miltenberger
                                                Texas State Bar Number 14171200

                                             Designated as Lead Attorney

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